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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,                                 HONORABLE PAUL L. MALONEY

 v.                                                       Case No. 1:07-cr-36

 RICHARD M. ROSENBAUM,
 et al.,

            Defendants.
 _________________________________/


                         ORDER GRANTING MOTION TO ADJOURN
                        FINAL PRE-TRIAL CONFERENCE AND TRIAL

               This matter is before the Court on defendant Christina Flocken’s Motion to Adjourn

Final Pre-trial Conference and Trial (Dkt. 28). Co-Defendants Richard M. Rosenbaum and Edward

Scott Cunningham have filed joinders in the motion (Dkts. #30 and #32 respectively). The

government has filed a response that stating it does not oppose the motion (Dkt. #29). The Court

being fully advised in the premises:

               IT IS HEREBY ORDERED that the Motion to Adjourn Final Pre-trial Conference

and Trial (Dkt. 28) is GRANTED. The final pretrial conference is rescheduled to November 19,

2007 at 10:00 a.m. Jury trial is rescheduled to November 27, 2007 at 8:45 a.m. The parties are

advised that further requests will not be favored.



Date: September 4, 2007                                     /s/ Paul L. Maloney
                                                           Paul L. Maloney
                                                           United States District Judge
